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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO. 1:21-CR-189 (CJN)
v.
RICHARD L. HARRIS, : VIOLATIONS:
:  18U.S.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding)
: 18 U.S.C. § 231(a)G3)
(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building) ©

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)
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Police Department, lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT FOUR

On or about January 6, 2021, from approximately 2:27 p.m. to 2:32 p.m., within the District
of Columbia, RICHARD L. HARRIS did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is Sergeant D.M., a sergeant with the United States Capitol Police, while
such person was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit

another felony..

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, at approximately 3:07 p.m., within the District of Columbia,
RICHARD L. HARRIS did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an

officer and employee, that is Officer M.H., an officer from the Metropolitan Police Department,
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SECOND SUPERSEDING INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, RICHARD
L. HARRIS attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.
(Obstruction of an Official Proceeding and Aiding and Abcetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
COUNT TWO
On or about January 6, 2021, from approximately 2:27 p.m. to 2:32 p.m., within the District
of Columbia, RICHARD L. HARRIS committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officer, that is, that is Sergeant D.M., a sergeant with
the United States Capitol Police, lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT THREE
On or about January 6, 2021, at approximately 3:07 p.m., within the District of Columbia,
RICHARD L. HARRIS committed and attempted to commit an act to obstruct, impede, and

interfere with a law enforcement officer, that is, Officer M.H., an officer from the Metropolitan
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while such person was engaged in and on account of the performance of official duties, and where

the acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
COUNT SIX

On or about January 6, 2021, in the District of Columbia, RICHARD L. HARRIS did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, RICHARD L. HARRIS did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, RICHARD L. HARRIS
did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting.
(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
COUNT NINE
On or about January 6, 2021, in the District of Columbia, RICHARD L. HARRIS
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.
(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
COUNT TEN
On or about January 6, 2021, in the District of Columbia, RICHARD L. HARRIS
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, RICHARD L. HARRIS
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
